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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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V` CoMPLAINT .FEB § ZZD-H
LINDsAY rosa MCINTYRE,
_ USDC VU'F) SDNY
Defendant. j j_! d fi-…,AJ 4 w [ '

 

 

lnternational Business Maehines Corporation (“IBM” or the “Company”), by its
undersigned attorneys, upon personal knowledge with respect to itself and its actions and
otherwise on information and beliet`, alleges as follows:

Nature of the Action

l. Def`endant Lindsay Rae Mclntyre was, until she abruptly resigned to
compete against IBM, one ofIBM’s most senior executives with knowledge of IBM’s most
closely guarded and competitively sensitive strategic plans and recruitment initiatives. As lBl\/l’s
Chief Divcrsity Of`ficer, Mclntyre was responsible for, among other things, devising and
executing IBM’s confidential strategies to recruit, retain, and promote diverse talent. l\/Iclntyre
therefore generated and had in depth knowledge of highly confidential and competitively
sensitive information about IBM’s diversity strategies, initiatives, hiring targets, representation
data, and technologies and innovations. Speciiically, among other things, Mclntyre knows
confidential data about diverse representation in every segment of IBM’s workforce; she
personally oversaw the teams responsible for developing Artificial Intelligence-based tools and
methodologies designed to track career development, recommend growth opportunities and

potential paths for promotion, and monitor diversity metrics at the Company; and she led a

 

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confidential IBM initiative to identify, target, and devise plans to recruit more than 50 top
diverse external candidates for specific executive positions at the Company. All of these
responsibilities required Mclntyre to generate and have in depth knowledge of IBM’s highly
confidential, proprietary, and competitively sensitive information regarding the Company’s
diversity data, strategies and initiatives. Mclntyre now threatens to violate her one-year
noncompetition agreement by accepting the identical position of Chief Diversity Officer at
Microsoft Corporation (“Microsoft”), one of IBM’s main competitors, and taking her knowledge
of IBM confidential information and trade secrets with her.

' 2. As Microsoft has admitted, disclosure of the very type of confidential
information that Mclntyre possesses-non-public diversity data, strategies and initiatives_can
cause real and immediate competitive harm. Faced with public condemnation and class action
litigation for being rated the worst technology company for the employment, pay and promotion
of women, l\/Iicrosoft has represented in court that its own diversity data, strategies and initiatives
are so secret~and would cause so much harm if they fell into the hands of its competitorsithat
there is a “compelling need” to keep such information under seal. [n the pending gender
discrimination class action against it, Microsoft has persuaded the court to seal, and thus conceal
from its competitors, the very same type of confidential data and information that IBM seeks to
protect in this action. Microsoft argued to the court that if such information were to be publicly
disclosed, “Microsoft’s competitors could unjustly gain access to Microsoft’s business strategies
and initiatives related to diversity at Microsoft’s expense and may use the information in

recruiting efforts against the company.”l Microsoft further argued that diversity in the

 

1 See Microsoft’s Response to Plaintiffs’ Motion to Seal at 5, Moussotu':'s v. Microsoj? Corporan`on, No. 2:15-cv-
01483 (W.D. Wash Apr. 12, 2017) (Dkt. No. 177) (hereinafter “Microsoft Apri12017 Brief’) (see Declaration
of Pietro J. Signoracci dated February l l, 2018 (“Signoracci Declaration”) Exhibit 3).

 

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technology industry is an “imperative”; that “Microsoii; actively seeks to foster greater diversity
in its work force, and to recruit top diverse talent in a highly competitive labor market” because
“[o]therwise, l\/Iicrosoft would risk lack of key market representation; impact to innovation;
[and] lack of diverse talents pipeline”; and that Microsoft “invests tens of millions of dollars in
developing and implementing diversity initiatives, which constitute “confidential business
information which, if disclosed, could cause competitive harm.”

3. Faced With the threat that, by competing against IBM in the same
executivejob for Microsoft, Mclntyre will use and disclose - whether intentionally or not ~ the
same kind of “confidential and sensitive information” that “would place [IBM] at a competitive
disadvantage if made public,” iBM brings this action to enjoin Mclntyre to honor her agreements
with IBM and to recover damages for Mclntyre’s breaches of those agreements

4. This is precisely the situation Mclntyre promised to avoid in order to
safeguard IBM’s protectable business interests. If not enjoined to wait before competing against
lBl\/l_as she expressly agreed she would-Mclntyre will take with her to l\/[icrosoft all the
highly confidential information she knows about IBM’s current diversity representation data, its
strategic hiring and promotion plans, and its diversity recruitment initiatives.

5. All of this IBM confidential information, by l\/Iicrosof`t’s own admissions,
would be very valuable to Microsoft in its attempts to compete against IBM. For that reason,
IBM has taken steps to keep its confidential information regarding its diversity representation
data, strategic hiring and promotion plans, and diversity recruitment initiatives closely held as
secret. This information is not shared outside the Company, and its distribution within IBM is

limited to the very few employees who need access to the information for business purposes

 

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6. Given l\/Iclntyre’s first-hand knowledge of lBl\/I’s confidential strategies,
secret diversity representation data, proprietary technologies, and recruitment, retention, and
promotion plans for diverse talent, it is inevitable that l\/fclntyre will use IBM’s confidential
information and trade secrets against IBl\/I if shejoins Microsoft before the expiration of her non-
compete period. Mcintyre will be leading the team at Microsoft responsible for deciding how to
compete against IBM for diverse talent in the marketplace, and how to attempt to win business
from customers based on the purported strength and potential success of Microsoft’s diversity
initiatives. Switching sides in the competition with the type of competitively sensitive
information l\/[clntyre knows puts those secrets at high risk of disclosure_which is exactly why
Mclntyre agreed to wait a reasonable interval before joining a competitor.

7. Nevertheless, Mclntyre intends to join Microsoft and lead its efforts to
compete against IBM for the very same diverse talent she was responsible for recruiting,
retaining, and developing at IBM. And she intends to do so immediately, without waiting the
twelve months required by her noncompetition agreement

8. l\/lclntyre’s breach is especially serious, and unnecessary, considering that
she could find high level executive employment at any number of companies that do not compete
directly against lB|\/I in the very business for which Mclntyre was responsible With her skills
and experience as an executive in the Human Resources department of a Fortune 100 company,
and as IBM’s Chief Diversity Officer for the past two and a half years, iviclntyre is marketable
for high ranking executive positions at companies that do not compete directly against IBM. But
she has chosen to leave [BM and go not only to a direct competitor, but one of the competitors
that would have the greatest use for the IBM confidential information, trade secrets, and

proprietary technologies and initiatives she was entrusted to protect.

 

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9. Accordingly, the injunctive relief iBl\/I seeks by this action»-enforcing
McIntyre’s noncompetition agreement for the twelve-month period to which she agreed_isjust,
reasonable and necessary. [BM also seeks to recover the equity compensation Mclntyre has
forfeited by violating her contractual duties to IBM.
w
10. IBM is a New York corporation with its principal place of business in
Armonk, New York.

l l. Lindsay Rae Mcintyre is a citizen of Canada who resides in Ridgefield,

Connecticut.
Jurisdiction and Venue

12. The Court has subject matterjurisdiction over this action pursuant to 28
U.S.C. § 1332, because there is diversity of citizenship between the parties and the amount in
controversy exceeds the sum of $75,000, exclusive of costs and interest.

l3. The Court has personal jurisdiction over Mclntyr‘e because, in the
Noncompetition Agreement, she agreed to exclusivejurisdiction and venue in the federal and
state courts of the State of New York, New York County or County of Westchester, for all
disputes arising from the agreement,

14. Venue properly lies in this Court both because of Mclntyre’s
aforementioned agreement, and pursuant to 28 U.S.C. § 1391 , because lBi\/l’s headquarters are in
this judicial district and a substantial part of the events giving rise to the claims occurred in this

district.

 

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Relevant Faets

IBM

l5. IBM is a globally integrated business that offers information technology
(“IT”) products and services to a wide range of business, public sector, and individual customers

16. IBM designs, develops, and brings to market a portfolio of hardware,
software, and service offerings for customers in all industries, including ( l) Hybrid Cloud, which
offers businesses and government entities inti'astructure, services, and tools for integrated Cloud
Computing; (2) Cognitive Solutions, which provides Artificial intelligence-based software and
services to clients; (3) Globa| Business Services, which offers professional management and
strategic consulting services as well as systems integration, and application management services
to help clients use and integrate technology into their businesses; (4) Enterprise Server and
Storage Systems, which offers clients a wide-ran ge of data storage products, data protection
services, and IT infrastructure hardware such as servers; and (5) lBl\/l Blockchain, which offers
clients a suite of cloud-based services to help clients create and manage blockchain networks

17. IBM also competes against other companies in the IT industry for the top
talent in the marketplace, and especially for the top diverse talent at executive levels. IBM’s
efforts to recruit, retain, and develop its “pipeline” of diverse talent are key to IBM’s corporate
strategy.

18. IBl\/I relies on trade secrets, other confidential information, and proprietary
methods and processes in developing, implementing and marketing its business strategies, and
each year it makes substantial investments and dedicates extensive research efforts to its
confidential recruitment, retention, and development strategies. Among other things, IBM
utilizes trade secrets, proprietary information and methods, confidential technical know-how,

competitively sensitive information and confidential competitive strategies to devise, develop,

 

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implement, and execute its strategic hiring and promotion plans and its diversity recruitment and

development initiatives.

IBM-Microsoft Colnnetition in Products, Services and, Criticallv, Diversity

19. lBl\/l and Microsoft compete for the same business and government
customers They market computer hardware, software and services offerings that compete
directly against each other in many areas of information technology (“IT”), including Cloud
Computing, Artificial Intelligence, Global Business Services, Enterprise Server and Storage
Systems, and IBM Blockchain. For example, recent industry reports identify IBM and Microsoft

as among the top competitors in Cloud Computing,2 Data Science Platforms,3 Access

 

2 See, e.g., Gartner, Magr`c Quadramfor Cloud lafrasiruclnre as a Service, Wo)'[dwr'de (June 15, 2017),
llttps://www.gartner.Com/doc/reprints?id= l -2G205FC&ct=150519; see also Forbes, IBM Jor`)ts Microsoj‘,
Amazo)r Atop Cloud Worl'd,' Boamr'ng Cloud Business Ends Long Revemie Dect'ine (Jan. 19, 2018) ,
https://www.forbes.com/sites)'bobevans112018/01/19/ibm-joins-microsoft-amazon-atop-cloud-world-booming-
cloud-business-ends-long-revenue-deeline/#24e2a4a49c49; Investor’s Business Daily, Amazon Cloud Services
Una'er Growing Threar F)'om Mr'crosofr, Goog!e, IBM (Apr. 28, 2017),
http://www.investors.com/news/technology/amazon-cloud-services-under-growing-threat-from-microsoti-
google-ibm (identifying IBM and MicrosoH as among the top competitors in Cloud Computing and stating that
“1BM continues to lead in hosted private cloud” based on report from Synergy Research Group).

3 See, e.g., Gartner, Magi'c Qaadranrfor Data Sci'ence Piaiforms (Feb. 14, 2017),
https://www.gartner.com/doc/reprints?id:l-3TKDSOH&ct;170215&st:sb (listing IBM as a “leader” and
Microsolt as a “visionary” in the market for data science platforms).

 

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l‘\/Ianagement,4 Streaming Analytics,5 Operational Database Management Systems, the

Blockchain lndustry,7 and Enterprise File Sync and Share Platforms.8

20. l\/Iicrosof`t is listed in lBl\/l’s financial disclosures as among lBl\/I’s top
“broad based competitors” in lBM’s global services business and among lBM’s “principal
competitors” in the highly competitive enterprise management software market.9 Likewise, IBM
is listed in Microsof`t’s financial disclosures as a competitor in enterprise-wide computing
systems; server applications; database, business intelligence, and data warehousing solutions;
system management solutions; products for software developers; and Azure, Microsoft’s cloud

computing offering.10

 

4 See, e.g., Gartner, Mrrgr`c QtrcrdmnrforAccess Mmmgement, Worldwi'de (June 7, 201'7)1
https://w\.vw.gartner.com/doc/reprints?id=l-42VJ7MJ&ct=1706 l2&st=sb (listing IBM and Microsoft as
“|eaders” in the access management market).

5 See, e.g., Forrester, Stremrzfng Amrlyh`cs Q3 2017 (Sept. 19, 2017),
https://reprints.forrester.com!#/assetsf2/308/'RES136545'/reports (including IBM and Microsofr in a list of 13
evaluated vendors in the streaming analytics sector).

6 See, e.g., Gartner, Magr`c Qmidmntfor Ope)'rrtiorirrl Database Managemem Sysrems (Sept. 19, 2017),
htlps://\vww.gartner.com/doc/reprints?id:l-3.|D7HFO&ct=l61005&st=sb (listing Microsoft and lBM as
“leaders” in the operational database management systems market).

7 See, e.g., CNBC Tech, IBM Frrr‘ Ot¢tranks Microsof‘ crs Bt'ockchm'n Incr'ustiy Lecrder, Resem'ch Says (Nov. 2,
2017), https://www.cnbc.com/2017)'09/1S/ibm-far-outranks-microsoft-as-blockchain-industry-leader-
report.html (“[lBM] is better positioned than competitor Microsoft as far as its blockchain credentials are
concerned More than 40 percent of tech executives and leaders in the blockchain sector ranked IBM as top,
with only 20 percent saying the same of Microsoft.”).

3 See, e.g., Forrester, The Forresrer Wave: Enterprr'se Fr'i'e Sync and Shai'e Pla{forms_Hybn'd Soltrlr'ons Q4 2017
(Dec. 12, 2017), littps://reprints.forrester.com/#/assets/Z/%1/RES138372/reports (including Microsoft and IBM
in a list ofll vendors in this sector).

9 International Business Machines Corp., Annual Report (Form lO-K) (Feb. 23, 2016), at pp. 10~11,
ww\.v.sec.gov/Archives/edgar/dataf$l143/000104746916010329/a2226548210-k.htm.

m Microsoft Corp., Annual Report (Form lU-K) (July 28, 2016), at pp. 7-8,
https://www.sec.gov/Archives/edgar/data)'?89019/000119312516662209/d187868dlOk.htm.

 

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21. IBM and l\/Iicrosoft also compete head-to-head in the fierce competition to
recruit and retain the top talent in the IT industry, ll especially diverse talent (z`.e., candidates who
bring to the workplace a diversity of thought, experience, and background, including race,
ethnicity, gender, sexual or'ientation, or disability status, among others). For example, recent
press articles discuss lBl\/l’s trend-setting diversity recruitment initiatives, and l\/licrosoft’s
attempts to catch up to IBl\/l in the competition for diverse talent.12 ln response to increasing
pressure to improve its performance on diversity and equality issues, Microsoft has announced
and implemented various diversity and inclusion initiatives and has promised to allocate more
than $55 million per year to develop innovative diversity and equality programs13

22. For both lBl\/l and Microsoft, having a diverse workforce is notjust
ethically sound, and notjust a mere recruiting strategy. IBM has long demonstrated that a

diverse workforce is critical to the quality, innovation and competitive strength of its products

and services, particularly against Microsoft. '4 Diversity is a competitive necessity, not only

 

ll Id_ at p. 24 (“The market for highly skilled workers and leaders in our industry is extremely competitive.").

12 See, e.g., Black Enterprise, fatal and IBM Ser the Diversity E.rrrmplefor Technology crr:dfor Us AI! (Mar. 18,
2016), http://www.blackenterprise.com)'intel-and-ibrn-set-the-diversity-exarnple-for-technology-and-for-us-all/
(explaining that “IBM was concerned with diversity in technology long before it became a much-discussed
topic” and “other companies include Apple, Google, and MicrosoH, which are also launching diversity
initiatives and programs, especially ones that support young people of color in pursuing STEM careers”). The
article also notes that “former IBM salesman and now Microsoft chairman John Thompson spoke recently about
the support he received from IBM when he faced racism from clients as a salesman on the road.” Id.

'3 See Microsoft’s Opposition to Plaintiffs’ Motion for Class Certification at l, 10-12, Motrssorrrt`s v. Mr'crosoj‘
Corpom!ion, No. 2:15-cv-01483 (W.D. Wash Jan. 5, 2018) (Dkt. No. 285) (Signoracci Decl. Ex. 15).

'4 See, e.g., IBM, Fo)' Moi‘e Diversity in AI, rr Look to the Nexi Generati'on (Sept. 18, 2017),
https://www.ibm.corn/blogs/insights-on-business/ibmix/'diversity-ai-look-next-generation/ (explaining IBM’s
view that a gender-imbalanced workforce limits the applications of tire Al it develops because “Al reflects the
human biases of its creators”); GeekWire, IBM in the Cloird: Insr`de the Tech Gr'an.t 's Quesr to Smim' Orrr'
AgainstAmazon, Mr`crosoj?, and Google (Mar. 23, 2017), https://\,vww.geekwire.com/20l7/ibnr-cloud-inside-
teeh-giants-quest-compete-amazon-microsoft-goog|e/ (IBM “bas a different view than others” on its Al
approach”); Fortune, Mr'crosoj? CEO Sal'ya Nade!la Ha's Much to Say Abor¢t Arrr`j'ici'al !nrellr`gence (Sept. 27,
2016), http://fortune.corrr/ZO]6/09/'26/microsoH-satya-nadella-artificial-intelligence/ (‘“We are not pursuing A.l.

 

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because it is important to customers and business partners, but also because it drives and
enhances product innovation and quality. lBlVl measures its products, services, and diversity
hiring initiatives against those offered by lvlicrosoft, and reports publicly on instances when
customers choose lBl\/l over Microsoft.15

23. F or its part, Microsof`t has publicly acknowledged that successful diversity
and inclusion efforts are essential to its competitive success, stating that “diversity [and]
inclusion is a business imperative for l\/licrosoft” and “a diverse workforce brings a blend of
perspectives and experiences that spark greater innovation, customer satisfaction, employee
productivity, and corporate profitability.”16 Microsoft also concedes, as is relevant here, that
diversity hiring is extremely competitive and high-stakes: “l\/licrosoft actively seeks to foster
greater diversity in its workforce, and to recruit top diverse talent in a highly competitive labor
market. Otherwise, Microsoft could risk lack of key market representation; impact to
innovation; lack of diverse talent pipeline, [and] high attrition and onboarding cost.”17

24. Academic studies and industry commentary confirm that when companies

succeed in competition for diverse talent, they are more likely to succeed in their competition for

customer‘s’ business.18 i\/lclntyre herself is well aware of the importance of diversity initiatives

 

to beat humans at gamcs,` said Nadella, taking a subtle hit at competitors like Google and IBM . . . .
Microsolt’s overarching goal is to `democratize A.l.”’).

15 See, e.g., IBM News Releases, Wor)'ter trips lBM Cloud for development and testing (Aug. l'i', 2016),

https:/)'www.ibm.comfblogs/cloud-computing/20 l 6/08/workday-softlayer-development-testing/ (promoting
article noting that Workday, a company specializing in Human Resources software, selected IBM over

Microsoft as its cloud services partner for a multi-year deal).
Microsoft April 2017 Brief, supra note l, at 5.
" 1a

111 See, e.g., Vivian Hunt, Dennis Layton & Sara Prince, McKinsey & Company, Diversity Malrers (2015)
(diversity study examining the relationship between the level of diversity and company financial performance
using proprietary data sets for 366 public companies across a range of industries, including technology, in

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and strategies in gaining a competitive edge in the lT industry. ln an internal IBl\/I presentation
she prepared regarding the “critical business imperative” of building and maintaining a diverse
workforce “to maximize [Bl\/I’s profit margin,” l\/lclntyre wrote: “[T]lre more diverse the
population, the greater the innovative solutions, the wider the leacr'.”

McIntvre’s Responsibilities as Chief Diversity Officer at IBM

25. Throughout her 20-year career at IBM, l\/lclntyre held various executive
positions In 2010, Mclntyre was promoted to the position of Vice President in Human
Resources. ln 2015, she became Chief Diversity Officer and Vice President, Leadership

Succession Planning.

 

Canada, Latin America, the United Kingdom, and the United States, and finding that “[c]ompanies in the top
quartile for racial and ethnic diversity are 35 percent more likely to have financial returns above their respective
national industry medians"; that “[c]ornpanies in the top quartile for gender diversity are 15 percent more likely
to have financial returns above their respective national industry mediarrs”; and that “more diverse companies

. . . are better able to win top talent and improve their customer orientation, employee satisfaction, and decision
rnaking, leading to a virtuous cycle of increasing returns"); see also Julia Dawson, Richard Kersely & Stefano
Natella, Credit Suisse Research lnstitute, The CS Genrfer 3000: Women in Senr`or Managenrenr (2014) (diversity
study identifying and mapping more than 28,000 senior managers at over 3,000 companies and finding that
companies with higher female representation at the board level or in top management exhibit higher returns on
eqrrity, higher valuations and also higher payout ratios); see also Sheen S. Levine et. al., Ethm'c Diversity
Dejlrn‘es Prr`ce Brrbbles, l l l PNAS 52 (Dec. 30, 2014) (a diversity and homogeneity study finding that price
bubbles in markets often arise not only from individual errors or financial conditions, but also from the social
context of decision making, suggesting that diversity leads to more scrutiny and challenging of decisions and
ideas, less overconfidence and better outcomes for businesses).

Mierosofr’s CEO, Satya Nadella, has also emphasized the value ofdiversity in competing for business See
Exhibit A to Declaration of Anne B. Shaver in Support of Plaintiffs’ lvlotion to Certify Class at 6-7, Moussom'is
v. Mr'crosoj? Corpora!:`on, No. 2:15-cv-01433 (W.D. Waslr. Oct. 27, 2017) (Dkt. No. 233-1) (Signoracci Decl.
Ex. 10) (letter from Satya Nadella to all Microsoft Employees). In his letter, Nadella states:

[W]e need to recruit more diverse talent to Microsoft at all levels of the company. As you saw in
the numbers we recently released, we have work to do at Microsoft . . . . These numbers are not
good enough, especially in a world in which our customers are diverse and global. To achieve this
goaliespecially in engineering_we will have to expand the diversity of our workforce at the
senior ranks and re-double our efforts in college and other hiring.

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26. On Sunday, _1 anuary 14, 2018, Mclntyre announced her resignation from
IBM and informed lBl\/[ that she intended to accept an offer to join l\/[icrosoft as its Chief
Diversity Officer, without Waiting the twelve months required by her noncompetition agreement
with the Company (the “Noncompetition Agreement,” attached hereto as Exhibit A). ln
response, lBl\/l raised with Mclntyre its concerns regarding the Noncompetition Agreement and
her confidentiality and non-solicitation obligations Mclntyre and l\/licrosoft nevertheless
informed lBl\/l on January 18, 2018, that l\/licrosoft intended for lvlclntyre’s employment to
commence on January 30, 2018. As a result of discussion among counsel, l\/licrosoft and
l\/lclntyre subsequently agreed to postpone l\/lclntyre’s start date to February 13, 2018.

27. As IBM’s Chief Diversity Officer, Mclntyre was responsible for, among

other things:

a) l\/lonitoring and delivering presentations regarding confidential data about
diverse representation in every segment of IBM’s workforce;

b) Overseeing a confidential initiative to identify, target, and devise plans to
recruit more than 50 top diverse external candidates for executive positions at the
Company.

c) Devising and implementing lBl\/l’s competitive and proprietary strategies
to recruit and retain diverse talent and to develop lBl\/l’s existing talent pipeline for
potential promotion within the Company;

d) lntluencing the design and overseeing the development and
implementation of proprietary (and non-public) software IBM uses internally to identify,
track, and place the Company’s most qualified diverse candidates into executive level

positions This proprietary methodology, which lBl\/l designed and rises exclusively in-

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house, deploys Artificial lntel|igence and algorithms to help IBM extract the most value
from its diverse talent pipeline, which in turn improves the Company’s performance
across all of its business segments; and

e) Overseeing the development of lBl\/I’s proprietary methodologies for

monitoring diversity metrics in its business units and incentivizing business managers to
meet their diversity goals These accountability measurement methodologies were
designed and used exclusively in-house, are unique to IBM, and have significantly
contributed to lBM’s competitiveness in the lT industry.

28. ln her role as the Vice President ofIBM’s Leadership Succession
Planning, Mclntyre became further involved in tracking, developing, and placing all candidates
for executive positions in the Company. Mclntyre oversaw confidential projects to develop
Artificial lntel|igence-based tools that the Company designed in-house and used internally for
these purposes As lBlvl’s Chief Diversity Officer, l\/lclntyr'e had a particular focus on diverse
executive candidates and placements Accordingly, l\/[clntyre knows confidential information
about lBM’s executive succession planning technologies and strategies, including the identities,
statuses, and prospects of lBl\/l’s top diverse talent.

29. Mclntyre was also a frequent speaker on behalf of IBM at industry
conventions and other gatherings Through this role, l\/lclntyre marketed lBM and its business
across all of its product lines Mclntyre developed close relationships with many important IBM
customers and partners in her role as lBl\/l’s Chief Diversity Officer.

30. The materials Mclntyre prepared and reviewed in the course of performing
her duties as Chief Diversity Officer confirm that she was intimately knowledgeable about the

Company’s most sensitive diversity information, including discussions about lBl\/[’s strengths

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and competitive strategies against its major competitors specifically with respect to data about
diverse representation in every segment of IBM’s workforce and detailed information about the
targeting, recruitment, and retention of diverse talent. Mclntyre was also personally involved in
identifying specific diverse candidates for lBM’s corporate management and in planning the
succession and promotion of lBl\/l executives generally.

31. This highly confidential information will remain relevant and
competitively sensitive throughout 2018 and into 2019. Mclntyre regularly participated in
meetings to discuss products and initiatives under development_often under her direct
supervision_including information regarding diversity initiatives that lBl\/l has not yet launched
or publicly announced that will enable lBlvl to better compete to recr'uit, retain, and develop
diverse talent. For example, l\/lclntyre personally oversaw the teams responsible for developing
a Cognitive-based tool (r'.e., Artificial lntel|igence) designed to track career development and
recommend growth opportunities and potential paths for promotion Mclntyre knows the
proprietary technological components of this tool; she knows confidential information about
where IBM is in the process of developing and internally deploying the tool; and she would be
able to lead a team at a competitor to build a similar product to improve that company’s diversity
initiatives, placement processes and overall performanceiand, potentially, to market the tool
commercially

32. lBl\/l has gone to great lengths to safeguard as secret the confidential
information that Mclntyre possesses For example, on several occasions lBM has successfully
opposed Freedom Of lnformation Act (“FOIA”) requests for the disclosure of this information
on the basis of confidentiality, secrecy, and competitive harm. in 2012, a FOIA request was

made for lBM’s Equal Employment Opportunity Employer information Reports (“EEO-l

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reports”) for the period covering 2004_2010. IBM opposed the FOlA request, arguing that its
EEO-l reports contained confidential, commercially sensitive information covered by Exemption
4 of FOIA, 5 U.S.C. Section 552(b)(4), which protects “. . . trade secrets and commercial or
financial information obtained from a person [that is] privileged or confidential.” lBM explained
in a letter to the Office of F ederal Contract Compliance Program (“OFCCP”) that disclosure of
the requested information would cause substantial harm to the Company’s competitive position.
After making an independent decision based on Exemption 4, the OFCCP agreed with IBM’s
position, denied the FOIA request, and stated:

We believe that [IBM] made mandatory submissions to the governmenth

information described as confidential proprietary trade secret information not

released or otherwise made available to the public, or to competitors OFCCP

believes that [lBl\/l] provided well defined and reasoned objections to the release

of its submitted information based upon business practices and experience

OFCCP has determined it will withhold [lBM’s] EEO-l Reports based upon
FOlA Exemption 4 criteria.

(Attached as Exhibit E is the OFCCP’s Decision Rejecting CNN’s FOIA Request dated
Dec. 6, 2012.) Subsequent FOlA requests for lBM’s EEO-l reports were made in 2013,
2015, 2016, and 2017, and each request resulted in the same outcome_the OFCCP’s
rejection of the FOIA request and refusal to disclose [Bl\/l’s confidential informationl
(Attached as Exhibits F to I are OFCCP Decisions Rejecting FOIA Requests from 2013,
2015, 2016, and 2017.) As lBl\/l’s Chief Diversity Officer, Mclntyre has first-hand
knowledge of the confidential information contained in these reports that IBM has
safeguarded as closely held secrets

Microsoft Defends a Gender Discrimination Class Action, in Which
lt Zealouslv Guards Its Diversity Data, Initir_rtives and Strategies

33. In recent years, Microsoft has come under scrutiny for its lack of diversity

and its allegedly discriminatory employment practices ln 2014, Microsoft’s CEO, Satya

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Nadella, appeared at the annual Grace Hopper Celebration of Women in Computing. When
asked to offer advice to women who are not comfortable asking for a pay raise, Nadella
responded: “lt’s not really about asking for the raise, but knowing and having faith that the
system will actually give you the right raises as you go along.” Nadella added: “And that, l
think might be one of the additional superpowers that quite frankly women Who don’t ask for a
raise have. Because that’s good karma.”19 Nadella’s comments were met with outrage online
and negative press reports about Microsoft’s allegedly discriminatory employment practices20
Nadella subsequently attempted to walk back his views in an email to employees, claiming that
“the overall difference in base pay among genders and races (when we consider level and job
title) is consistently within 0.5% at Microsoft.” This only stimulated further criticism, as
l\/licrosoft employees responded that Nadella’s presentation did not address the company’s
alleged failure to promote women to higher level positions, even when those women were doing
the samejobs as their male employees who had more senior titles and higher salaries.21

34. Nadella’s statements in 2014 jump-started a conversation about the lack of
diversity and equality at lvlicrosoft. lvlicrosoft also received public criticism for its lack of

progress after the company chose to release some of its diversity statistics in 2015.22 One

 

19 See Plairrtiffs Motion for Class Certification at 13-14, Monssonrr's v. Microsojl Corpomrion, No. 2: 15-cv-
01433 (W.D. Wash Oct. 27, 2017) (Dkt. No. 232) (Signoracci Decl. Ex. 9); see also Forbes, 'Km'ma’ Hasn ’f
Fr`xed These Three Facts Abont the Gena'er Pay Gcrp (Oct. 10, 2014),
https://www.forbes.com/sites/'ruchikatulshyan/ZO14/10/10fkarma-hasnt-fixed-these-three-facts-about-the-

gender-pay-gap/'#o10303a3c03d.

211 CBS News, M.ic:‘osoji‘ CEO blasleo' over r'enmrks On women's pay (Oct. 10, 2014)
lrttps://www.cbsnews.com/news/rnicrosofc-ceo-satya-nadella-blasted-over-remarks-on-womens-payf.

21 See Plaintiff"s Motion for Class Certification, supra note 19, at 13-14.

22 See Marco della Cava, Mr'crosoji* 2015 Diversity Ntrmbers Flcr!, Women Fal'l, USA Today (Nov. 23, 2015),
https://www.usatoday.cornfstory/tech/ZO1511 li'23/microsoft-2015-diversity-nurnbers-flat-women-fa11/76273440/'
(noting that female employment at Miorosoft fell from 29% in 2014 to 26.8% in 2015); Wired, Mr'crosoji

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publication rated Microso& as the worst tech giant in both female employment percentage and
promoting women into leadership roles23 Then, in September2015, a group of Microsoft
employees filed a class action complaint against Microsoft, Moussouris v. Microsoji
Corporaa'on, alleging that Microsoft engaged in a pattern of discrimination against female
technical employees in performance evaluations compensation, and promotions24

35. In public, Microsoft employees accused the company ofpromoting a
“Boy’s Club” atmosphere, and even employees in Microsoft’s Human Resources department
“acknowledge[d] that Microsoft’s [diversity and inclusion] initiatives are little more than

window dressing . . . .”25

36. ln April 2017, in connection with discovery in the Moussouris class
action, plaintiffs sought to file on the public docket certain internal communications and
documents regarding Microsoft’s diversity data, strategies and initiatives, which Microsoft had
produced in discovery under a confidentiality designation ln response, Microsoft took the
position that the information was not merely confidential, but so sensitive and potentially
damaging to Microsoft if revealed to its competitors (e.g., IBM), that the court should take the

extraordinary measure of putting the information under seal.

 

Re!eases More Diversity Srars, and They Aren 't Pret.fy (.Ian. 5, 2015),
https://nnvw.wired.com/ZO15101/microsoft-diversity." (“'l`he new statistics released by Microsoft are
disappointing at best . . . Comparing Microsoft’s numbers from last year to this year, the new report also
shows that Microsoft is indeed working to close diversity gaps But it’s doing so at a snail’s pace.” .

21 The Verge, How Do Tech ’s Br`gges! Companr`es Compare on Diversity (Aug. 20, 2015),
https:/)'www.theverge.corn/ZO15/8/20/9 l 79853/tech-diversity-scorecard-apple~google-microsolt-facebook-intel-
twitter-amazon.

21 Second Amended Compl. ‘,1 l, Moussourr's v. Mr'croso_)? Corporan`on, No. 2:15-cv-01483 (W.D. Wash. Apr. 6,
2016) (Dkt. No. 55) (Signoracci Decl, Ex. 2).

25 See Plaintiffs Motion for Class Certification, supra note 19, at 19~20, 27.

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37. Microsoft asserted that the diversity exhibits contained “confidential
business information which, if disclosed, could cause competitive harm to Microsoft.”26
Microsoft explained that this information is “closely-held,” “available to a very small audience
within Microsoft,” and guarded by “str'ict internal confidentiality procedures”27 Microsoft
argued that this material should either remain sealed or be produced with redactions because, if
disclosed, “Microsof`t’s competitors could unjustly gain access to Microsoft’s business strategies
and initiatives related to diversity at Microsoft’s expense and may use the information in
recruiting efforts against the company.”211 Microsoft arguediand the Moussouri.s' Court
agreed_that there was “ good cause” to seal these exhibits because of “the prospective
competitive harm” that would flow from dissemination of certain information regarding
Microsoft’s diversity data, strategies, and initiatives29

38. In July 2017, in connection with its efforts to keep under seal internal

communications about a 2016 Equal Pay Study Microsoft published, Microsoft again argued to

 

26 See Microsoft April 2017 Brief, supra note l, at 2, ¢6.

27 Ia'. Microsoft repeated these arguments in subsequent briefing in the Moussouris Class Action, describing

“confidential and sensitive information regarding Microsot`t’s public relations and communications strategies,
along with information regarding internal business operations and internal discussion regarding the company’s
competitors all of which would place Microsoft at a disadvantage if made public.” See Microsoft’s Response
to Plaintiffs’ Motion to Seal at 2, 4-6, Moussourr`s v. Microsoji' Corporau'an, No. 2:15-cv-01483 (W.D. Wash.
July 26, 2017) (Dkt. No. 220) (Signoracci Decl. Ex. 7); see also Declaration of Dev Stahlkopf in Support of
Microsoft’s Response to Plaintiffs’ Motion to Seal at 1111 3-4, Moussourfs v. Microsoft Corporaa'on, No. 2:15-
cv-014S3 (W.D. Wash. July 26, 2017) (Dkt. No. 222) (“Stahlkopf.luly 26, 2017 Deelaration”) (Signoracci Decl.
Ex. 8); see also Microsoft’s Response to Plaintiffs’ Motion to Seal at 24, Moussonris v. Mr'crosofr
Corporalr'on, No. 2:15-cv-014S3 (W.D. Wash. July 12, 2017) (Dkt. No. 209) (Signoracci Decl. Ex. 5);
Declaration of Dev Stahlkopf in Support of Microsoft’s Response to Plaintiffs’ Motion to Seal at 11113-4,
Moussouris v. Microsojif Corporau'on, No. 2:15-cv-01483 (W.D. Wash, _luly 12, 2017) (Dkt. No. 21 l)

(Signoracci Decl. Ex. 6).
21 See Microsoft April 2017 Brief, supra note l, at 5 .

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the Moussouris court that its diversity and inclusion data and strategy are “non-public, highly
sensitive, confidential, and private.”30 Microsoft explained that it “maintains strict internal
confidentiality policies so as to limit distribution of communications like those references in [the
exhibit].””

39. ln December 2017, in connection with plaintiffs’ motion for class
certification in the Moussouris action, Microsoft filed additional briefing arguing that, beyond
“good cause,” there are “compelling reasons” to keep its confidential information regarding
diversity data, strategies, and initiatives under seal.32 Microsoft argued that the court should seal
confidential information “reflecting the company’s efforts to consider new perspectives and
identify actionable pathways forward for positively impacting the complex challenge of gender
inclusion and diversity in the technical field,” as such information “gives Microsoft an advantage
over competitors.”33 Microsoft made clear the risk that competitors would use this information,
if published, to their benefit and to l\/licrosoft’s detriment: “Unsealing these materials would
give competitors direct, accurate information as to Microsoft’s diversity and inclusion strategies,
and the results of those strategies (both what is working and what is not), which competitors

could use in developing their own strategies.”3‘1 Microsoft explained that “this is an especially

 

30 srahlkoprJury 26, 2017 Decl., supra note 27, ar 1111 sgt

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12 See Microsoft’s Sur-reply to Plaintiffs’ Motion to Seal at 4-5, Moussourr`s v. Micrasaji' Corporatr`on, No. 2.'15-
cv-01483 (W.D. Wash. Dec. 15, 2017) (Dkt. No. 280) (Signoracci Decl. Ex. 13).

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acute concern” in the context of “the highly competitive tech industry where the same companies
are competing for the same talent, the minority of which is female.”15
40. In January 2018, Microsoft made another motion to seal documents it
intended to rely on in opposing class certification. Microsoft argued that the court should seal
documents containing “confidential information reflecting Microsoft’s philosophy, strategies,
and techniques for evaluating employee performance and approaching compensation and
promotion,” because such “documents describe processes developed by and for Microsoft
management to further its ability to meet strategic objectives and advance its competitive
interests, both from a business perspective and to attract and retain employees.”36 Microsoft also
argued, again, that the “[c]onfidential diversity and inclusion strategies that Microsoft rises to its

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competitive advantage” should remain under sea Microsoft emphasized that its diversity and

inclusion data and strategy are “non-public, highly sensitive, confidential, and private, both
internally and externally.”33 Microsoft also explained that “[i]n furtherance of its efforts to
maintain the confidentiality of diversity information, Microsoft expends considerable efforts to

ensure that such information is not publicly disclosed1539

 

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35 See Microsoft’s Motion to Seal Docuineiits Subniitted in Support of Its Opposition to Plaintiffs’ Motion for
Class Certification at 4, Moussoiiri's v. Microsoft Corporati'on, No. 2:15-cv-01483 (W.D. Wash. Jan. 5, 2018)
(Dkt. No. 283) (Signoracci Decl. Ex. 14).

37 Id

38 Declaration ofShinder Dhillon in Support of Microsoft’s Opposition to Plaintiffs’ Motion for Class

Certification at 11 19-20, Moussouri`s v. Microsoft Corporali‘on, No. 2:15-cv-01483 (W.D. Wash. Jan. 5, 201 S)
(Dkt. No. 296) (Signoracci Decl. Ex. 16).

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41. The sealing order from the court in Moiissouris is itself under seal but, as
reflected on the docket, the district court has granted multiple motions by Microsoft to keep its
confidential documents under seal and to have certain filings appear on the public docket only in
redacted versions10
Mclntvre’s Noncompetition Agreement with IBM

42_ Precisely because of her exposure to highly confidential and commercially
sensitive information regarding IBM’s diversity data, strategies and initiatives, l\/Iclntyre was one
of lBM’s senior executives who the Company asked to sign a noncompetition agreement, to
restrict the potential disclosure of confidential IBM information in the event that she left the
Company.

43. l\/lclntyre executed her Noncompetition Agreement with IBM on January
25, 2012.

44. ln that agreement, l\/Iclntyre acknowledged and agreed that:

during [her] employment with IBM and for twelve (12) months following the
termination of [her] employment . . . , [she] will not directly or indirectly within
the “Restricted Area” (i) “Engage in or Associate with” (a) any “Business
Enterpr'ise” or (b) any competitor of the Company; or (ii) . . . solicit, for
competitive business purposes, any customer of the Company with which [she
was] directly or indirectly involved as part of [her] job responsibilities during the

last twelve (12) months of [her] employment with lBM. (Noncompetition
Agreement§ l(c)(i), l(c)(ii).)

45 . The Noncompetition Agreement provides the following definitions for the

defined terms in the foregoing provision:

 

40 See Moiissouri`s v. Mi'crosojl' Corporati`on, No. 2:15-cv-01483 (W.D. Wash. July 27, 2018) (Dkt. No. 223)
(granting motions to seal documents).

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(a) “Restricted Area” is defined as “any geographic area in the world in which
[she] worked or for which [she] had job responsibilities during the last twelve (12) months of
[her] employment with lBl\/l.” (lcl. §2(d).)

(b) “Engage in or Associate with” is defined to mean, among other things,
acting as an “associate, employee, member, consultant, or contractor.” (Ia'. § 2(c).)

(c) “Business Enterprise” is defined as “any entity that engages in, or owns or
controls an interest in any entity that engages in, competition with any business unit or division
of the Company in which [she] worked at any time during the three (3) year period prior to the
termination of [her] employment.” (Ia'. § 2(a).)

46. The Noncompetition Agreement also defines “lBl\/i confidential
information” as ineluding, among other things, “the Company’s methods, information, systems,
plans for acquisition or disposition of products, expansion plans, financial status and plans,
customer lists, client data, personnel information and trade secrets of the Company,” as well as
“the Company’s unique selling, manufacturing and servicing methods and business techniques
training, service, and business manuals, promotional materials training courses and other
training and instructional materials, vendor and product information, customer and prospective
customer lists, other customer and prospective customer information and other business
information.” (ld. § l(a), § l(b).)

47. Additionally, in the Noncompetition Agreement, Mclntyre agreed and

acknowledged that:

(a) “the business in which IBM and its affiliates are engaged is intensely

competitive” (Id. § l(a));

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(b) her “employment by IBM has required . . . that [she] have access to, and
knowledge of, confidential information of the Company” (la'.);

(c) “the Company would suffer irreparable harm if [she failed] to comply with
[the noncompetition and the nonsolicitation covenants]” (Icl. § 3); and

(d) “the restrictions set forth in [the noncompetition and the nonsolicitation
covenants] are reasonable as to geography, duration and scope.” (lcl.)

48. ln sum, Mclntyre agreed in the Noncompetition Agreement that, for a
period of one year following the termination of her employment from lBl\/l, she would not work
for any competitor of IBM in any geographic area in the world for which she had job
responsibilities in the last twelve months ofher employment with lBl\/l, and she would not
directly or indirectly solicit, for competitive business purposes, any customer of the Company
with which she was directly or indirectly involved in the last year of her employment with IBM.
l\/lclntyre made this promise to protect lBl\/l’s confidential information and to prevent a situation
where her employment by a competitor would result in the intentional or unintentional use or
disclosure of IBM confidential information to which she was exposed in her IBM employment.
lvlclntyre’s proposed employment at Microsoft as Chief Diversity Officer violates this
obligation: Microsoft directly competes with the business unit at IBM in which Mclntyre
worked prior to the termination of her employment.

McIntyre Violates the Noncompetition Agreement
by Accepting Emplovment with Microsoft As Its Chief Diversity Officer

49. Notwithstanding the promises she made in her Noncompetition
Agreement, Mclntyre told IBM on Sunday, January 14, 2018 that she intended to leave herjob
as lBM’s Chief Diversity Officer and accept ajob as Microsoj?’s Chief Diversity Officer, without

waiting the twelve-month period she agreed would be reasonable IBM subsequently learned

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that Mclntyre intended to commence employment with Microsoft immediately, on .lanuary 30,
2018.“'

50. Mclntyre’s announcement of her resignation and immediate plans to
compete directly against IBM was a surprise to the Company. J ust two days before she told IBM
of her plans, IBM had internally announced on its intranet, on January 12, 2018, that effective
February l, 2018 Mclntyre would receive a promotion with increased pay, an expanded role, and
appointment to lBM’s selective Growth & Transformation Team, a leadership group of about
300 high-level executives from all areas of IBM tasked with solving critical challenges and
focusing on transforming the Company and its strategies

51. What IBM knows now, howevei', is that while she was negotiating her
promotion at IBM and working with the Company’s Communications team to prepare the
internal announcement of her future at lBM, Mclntyre was meeting with Microsof`t’s top
executives and negotiating a competitive offer from Microsoft ln fact, Mclntyre visited
Microsoft’s offices on January 10, 2018, after IBM had informed her of her promotion And on
January 12, 2018, the same day that lBM internally announced Mclntyre’s promotion, Mclntyre
accepted Microsoft’s offer to become its Chief Diversity Officeriand to take with her to
Microsoft all of her knowledge of lBl\/l’s diversity data, strategies and initiatives

52. J ust as they were vital to her role as lBl\/l’s Chief Diversity Officer, the
confidential information and IBM diversity data, strategies and technologies Mclntyre knows,
and the IBM customers, partners, and potential diversity recruits Mclntyre knows by virtue of
her responsibilities as IBM’s Chief Diversity Officer, will all be relevant in performing her

responsibilities in the proposed role as Microsoft’s Chief Diversity Officei', reporting directly to

 

111 The parties negotiated for Mclntyre not to commence employment at Microsoft until February 13, 2018.

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Kathleen Hogan, Microsoft’s Chief People Officer and Executive Vice President of Human
Resources

53. lndeed, thejob that Mclntyre intends to take at Microsoft is identical to
and in direct competition against thejob she held at lBl\/l. Mclntyre intends to move from the
leadership of lBl\/l’s diversity strategy, recruitment and retention team to the leadership of
Microsoft’s diversity strategy, recruitment and retention team. Her proposed role at Microsoft
would involve her in the development and implementation of Microsoft’s competitive strategies
to compete against lBl\/l, including with respect to recruiting and retaining diverse talent in the lT
industry and using those diversity initiatives to compete against lBl\/l for customers

54. Microsoft itself admitted in its briefing in Moiissouri's that a competitor
with knowledge of the valuable confidential information of exactly the type that Mclntyre
possessesidiversity data, strategies, methodologies and initiatives_would use that information
to the company’s detriment. See lvlicrosoft’s April 2017 Brief, supra note l, at 6 (“The materials
sought to be kept under seal have little value other than to Microsoji"s competitors who stand to
gain from publication of this information at Microsoft’s expense.” (emphasis added)).

55. Mclntyre’s defection to Microsoft poses a particular competitive threat to
lBM, not only because she knows the Company’s trade secrets, but also because she developed
relationships with significant lBl\/l customers and partners on the strength of lBM’s goodwill,
products and services, and served as the public face of IBM at major industry events as lBl\/f’s
highest ranking customer goodwill representative

56. Mclntyre’s breach of her Noncompetition Agreement is especially serious,
and unnecessary, considering that she could find high level executive employment at any number

of companies that do not compete directly against lBl\/l in the very business for which Mclntyre

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was responsiblel With her skills and experience as an executive in the Human Resources
department of a Fortune 100 company, and as lBl\/l’s Chief Diversity Officer for the past two and
a half years, Mclntyre is marketable for high ranking executive positions at companies that do
not compete directly against IBM. Today, every sizable business, financial institution, insurance
company, law firm, consulting firm, and non-profit organization is in need of a diversity ofticer.
While Microsoft’s diversity needs may be acute, they are not unique. Indeed, Mclntyre informed
IBM that she had considered, but rejected, an opportunity at a company in the food services
industry. 1

IBM’s Right to Rescind Long-Term Iiicentive
Awards It Provided to Mclntyre

57. As recently as June 2017, Mclntyre accepted awards of lBl\/l stock
options, Restricted Stock Units, and Performance Shai'e'Stock Units under IBM’s 1999 Long-
Tei'm Performance Plan, as amended through August l, 2007 (“LTPP”). (The LTPP Prospectus
is attached hereto as Exhibit B.) Mclntyre’s equity awards also were governed by a document
titled “Terms and Conditions of Your Performance Share Units (PSUs) _ Growth Award:
Effective August 1, 2016” (the “Terms and Conditions”) (attached hereto as Exhibit C).

58. The equity awards that Mclntyre received under the LTPP were in
addition to, and not part of, the salary she received for her work at lBM.

59. Under the LTPP, equity awards are subject to cancellation and rescission
in certain circumstances and any exercise, payment or delivery pursuant to a rescinded award is
subject to repayment In paiticular, the awards may be canceled and rescinded if the participant
engages in “Detrimental Activity,” as defined in the Plan.

60. Detrimental Activity consists of eight categories of conduct, including,

among others:

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(a) the rendering of services for any organization or engaging directly
or indirectly in any business which is or becomes competitive with
the Company; and

(b) any other conduct or act determined to be injurious detrimental or
prejudicial to any interest of the Company.

61. Mclntyre’s plan to work for Microsoft constitutes Detrimental Activity
under the LTPP, triggering IBM’s right to rescind and recover awards granted to her in the prior
twelve months

62. Mclntyre had the choice each year whether to accept her equity awards
Upon acceptance of the awards in lune 2017, she agreed that she understood that “lBl\/l may
cancel, modify, i'escind, suspend, withhold or otherwise limit or restrict this Award in
accordance with the terms of the Plan, including, without limitation, canceling or rescinding this
Award if you render services for a competitor prior to, or during the Rescission Period. You
understand that the Rescission Period that has been established is 12 months.” (A copy of
Mclntyre’s “Long-Term lncentive Award Acceptance lnformation” is attached hereto as Exhibit
D-)

63. ln the Terms and Conditions to the LTPP, Mclntyre acknowledged and
agreed that if she were to violate the prohibition on direct or indirect solicitation of IBM
customers “the Company would suffer irreparable harm” and that “the Company will be entitled
to any appropriate relief including money damages, equitable relief and attorneys’ fees.” (Ex. C
p- 5-)

64. The Terms and Conditions also require Mclntyre to pay “all costs and
expenses incurred by the Company” in a successful action to enforce the terms of the LTPP,

“including reasonable attorneys’ fees.” (Ia'. p. 4.)

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65 . The stock options that Mclntyre exercised and Restricted Stock Units and
Performance Share Stock Units that were released to her in the twelve months prior to her
resignation and announcement of her intent tojoin Microsoft total approximately 3101,311.75.

COUNT I_ Breach of Noncompetition Agreement

66. IBM repeats and realleges, as if fully set forth herein, the allegations of
Paragraphs l through 65 above.

67. The Noncompetition Agreement is an enforceable agreement that imposes
upon Mclntyre contractual obligations

68. IBM has complied with all material terms of that agreement

69. Mclntyre has breached the terms of that agreement by, among other
things, accepting a position as Chief Diversity Officer of Microsoft without waiting for
expiration of the one-year non-compete period to which she expressly agreed.

70. As Mclntyre agreed in the Noncompetition Agreement, if she is not
enjoined from working at Microsoft as Chief Diversity Officer until January 29, 20 l 9, and
thereby violating her Noncompetition Agreement, IBM Will be irreparably injured.

71. ln view ofthe similarity of Mclntyre’s proposedjob at Microsoft to her
job at lBl\/[, she will inevitably (if inadvertently) make use of and/or disclose IBM trade secrets
and other confidential and proprietary IBM information in performing her proposed role at
Microsoft.

72. IBM will also be harmed if Mclntyre violates the nonsolicitation
covenants in the Noncompetition Agreement.

73. In these circumstances, IBM is entitled to an injunction to prevent such
irreparable injury. IBM is also entitled to recover money damages to the extent that Mclntyre is

not enjoined from violating her agreement

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COUNT II ~ Misappropriation of Trade Secrets

74. IBM repeats and realleges, as if fully set forth herein, the allegations of
Paragraphs l through 73 above.

75. IBM possesses certain trade secrets and confidential information with
which Mclntyre is familiar, and which Mclntyre has a common law duty not to disclose outside
of IBM.

?6. The Noncompetition Agreement is an enforceable agreement that imposes
upon Mclntyre contractual obligations, including the obligations of nondisclosure with respect to
IBM’s confidential information

77. If she is permitted to work for Microsoft, Mclntyre will inevitably (if
inadvertently) use and/or disclose IBM trade secrets for her own benefit and for the benefit of
Microsoft

78. As an unavoidable result of Mclntyre’s impending misappropriation of
IBM trade secrets in violation of her common law and contractual duties, IBM will be damaged

COUNT III _ Declaratorv Judgment: Rescission of Eauitv Award

79. IBM repeats and realleges, as if fully set forth herein, the allegations of
Paragraphs l through 78 above.

80. By accepting employment at Microsoft in competition against IBl\/l,
Mclntyre has engaged in “Detrimenta| Activity” under the LTPP agreement, triggering IBM’s
right to rescind and demand repayment of equity awards granted to her in the prior twelve

months.

81. The LTPP agreement is an enforceable agreement, and IBM has

performed all of its material obligations under the agreement

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82. IBM has informed Mclntyre of this claim. Mclntyre has refused and, on
information and belief, will continue to refuse to return and repay her equity awards, as required
by the LTPP agreement

83. IBM does not have an adequate, alternative remedy in another form of
action.

84. Accordingly, IBM is entitled to a declaratory judgment confirming its
right to rescind and demand repayment of Mclntyre’s equity awards.

PRAYER FOR RELIEF

WHEREFORE, plaintiff IBM demands judgment seeking relief against defendant
Lindsay Rae Mclntyre as follows:

A. lmposing a preliminary and permanent injunction ordering Mclntyre to refrain
from: (i) breaching the terms of her Noncompetition Agreement with IBM; (ii) commencing
employment with Microsoft as ChiefDiversity Officer, or in any other position that would create
a risk of inevitable disclosure of IBM trade secrets, prior to the expiration of her twelve-month
noncompetition period on January 29, 2019; (iii) directly or indirectly soliciting, for competitive
business purposes, any IBM customer with which Mclntyre was directly or indirectly involved as
part of herjob responsibilities during the last twelve months of her employment with IBM prior
to January 29, 2019; or (iv) directly or indirectly hire, solicit or make an offer to any employee of
the Company to be employed 01' perform services outside of the Company prior to January 29,
2020.

B. Declaring that IBM is entitled to rescind and demand repayment of the equity
awards granted to Mclntyre in the twelve months prior to her accepting employment with

Microsoft;

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C. Awarding IBM its attorneys` fees, costs, and disbursements incurred as a result of
this action;
D. Awarding IBM monetary damages in an amount sufficient to compensate the

Company for Mclntyre’s breaches of contract together with rescission of any LTPP Awards
Mclntyre has received from IBM within the last twelve months and of any other compensation or

benefits that IBM is entitled to rescind; and

E. Awarding IBM such further relief as the Court deems just and proper.

Dated: New York, New York
February 1 1, 2018

PAUL, WEISS, RlFKlND WHAR'I`ON & GARRISON LLP

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